         Case 2:10-cr-20057-PKH                      Document 231                 Filed 01/17/12            Page 1 of 6 PageID #: 704
bAO 2458       (Rev,09/08)Judgment
                                in a CriminalCase
               SheetI



                                         Ul{rren Srarss Dtsrntcr CoURT
                        WESTERN                                      District of                                  ARKANSAS
          UNITEDSTATESOF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                              v.
            MARGARITO LIRA-IBARRA                                             CaseNumber:                       2:10CR20057-004
                                                                              USM Number:                        I03r0-010
                                                                              J. StenhenMuncev
                                                                              Defendant'sAnomcy
THE DEFENDANT:
X pleadedguilty to count(s)         One (l) of the Indictmenton April 25, 201I

! pleadednolo contendereto count(s)
  which was acceptedby the court.
! was tbund guilty on count(s)
  aftera pleaofnot guilty.

                          guilty of theseoffenses:
The defendantis adjudicated

Title & Section                  Nature of Ot't'ense                                                            Offense Ended                 Count

2l U.S.C.gg 8al(aXl),            Conspiracyto DistributeMore Than50 Grarnsof a Mixture or                          r0t2U20t0
(bXIXBXviii)and846               SubstanceContainingMetharnphetamirre



      Thedef'endantissentencedasprovidedinpages2through                  o f t h i s j u d g m e n tT. h e s e n t e n c e i s i m p o s e d w i t h i n t h e
statutoryrangeand theU.S. SentencingGuidelineswereconsideredas advisory'

I The defendanthasbeenfound not guilty on count(s)

X Count(s)           Four(4) andForfeiturcAllegation      n   is     X   are dismissed on the motion of the United States.

         It is orderedthat the tlefendantmust notify the United Statesattomeyfor this district within 30 d-ay,s          of name,residence,
                                                                                                             of any_c_han-ge
or mailingaddress  until all fines,restitution,costs,hndspecialassgssmentsirnposedby thisjudgmentaretully patd. It orderedto payrestrtutlon,
the def'endant  mustnotify the court and United Statesattorneyof materialchangesin economtcclt-cumstances.

                                                                             Januaru
                                                                                   13.2012
                                                                             Dateof Impositionof Judgment



                                                                             /S/ RohertT. Dawson
                                                                             Signatureof Judge




                                                                             HonorableRobertT. Dawson.SeniorUnited StatesDistrict Judqe
                                                                             Namc andTitle of Judse



                                                                             J a n u a r v1 3 . 2 0 1 2
          Case 2:10-cr-20057-PKH                       Document 231            Filed 01/17/12         Page 2 of 6 PageID #: 705
AO 2458        (Rev. 09/08) Judgmentin Criminal Case
               Sheet2 - ImDrisonment

                                                                                                       Judgment*   Page _!-    of
DEFENDANT:                       MARGARITO LIRA-IBARRA
CASENUMBER:                      2:10CR20057-004


                                                                  IMPRISONMENT

        The defendantis herebycommittedto the custodyof the United StatesBureauof Prisonsto be irnprisonedfor a
total term of:    87 months.




  X                                                 to the Bureauof Prisons:
          The courtmakesthe following recommendations
          RDAP or other SA treatment program




  X       The defendantis remandedto the custodvof the United StatesMarshal.

  tr      The defendantshallsurrenderto the United StatesMarshalfor this district:

          trat                                         !   a.m.    !   p.m.    on

          !      asnotifiedby the United StatesMarshal.

          The defendantshallsunenderfor serviceof sentenceat the institutiondesignatedby the BureauofPrisons:

                 beforeI p.m. on

          tr     as notifiedby the United StatesMarshal.

          !      as notifiedby the Probationor PretrialServicesOffice.



                                                                       RETURN
I haveexecutedthisjudgmentasfollows:




          Defendantdeliveredon

                                                           with a cenifiedcopy of thisjudgment.



                                                                                                     UNITED STA.I'HS MARSHAL



                                                                              By
                                                                                                  DEPTJTY
                                                                                                        UNITEDSTATESMARSHAL
            Case 2:10-cr-20057-PKH                 Document 231           Filed 01/17/12           Page 3 of 6 PageID #: 706
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                               in a CriminalCase



DEFENDANT:                   MARGARITO LIRA-IBARRA
CASENUMBER:                  2:10CR20057-004
                                                      SUPERVISBD RBLEASB
Upon releasefrom itnprisonrnent,     the def'endant shallbe on supervisedreleasefor a term of :      five (5) years
It is anticipated  thatthe defendantwill be derrorted bv U.S.ImmigrationandCustomsEnforcement         followingthe termof imprisonmcnt.
Accordinslv.if defendant     leavesthe UnitedStatesby way of dep-ortation  or othcrwiscaftcrcomplctionof thEternrof imprisbnment      and,attcr
suchdena-rture.   aqainre-enters the UnitedStatesillei,allv.the ddf'endantwill thcnbc in immcdialeviolationof a conditionof supervised'
release,' Ifl nriorToany deportation. dcf'cndant is rclc*asc-d
                                                             on bondbv U.S.lmmisrationandCustomsEnforcement          or if. afterddportation,
                                                                                                                                           the
def'endant  idturnsto tht UnitedStat-es leeally,defendant                              to the nearestU.S.ProbationOtTicewithinT2 hourdof
                                                           shall-in eithcrcvent--rciport
suchrelease    er return.Basedon thesecircuiristances,   the mandatorydrugtesting'pr<rvisions  of l8 U.S.C.$ 3583(d)areherebywaived.
Shoulddefendantnot be deported,the standardand-special         conditionso"fsupeivisionshallapply.

    The defendantmustrepoftto the probationoffice in the districtto which the def'endant
                                                                                      is releasedwithin 72 hoursof releasefrorn the
custodyof the Bureauof Prisons.
The def'endant
            shallnot conrmitanothert'ederal,stateor local crirne.
The det'endant                         a controlledsubstance.The defendantshallrefrainfrom anv unlawful useof a controlled
              shallnot unlawfullvDossess
                                                                                            and at leasttwo periodicdrug tests
substance.The defendantshallsubmitto one drug testwithin l5 daysof releasefi'om irrrprisonment
thereafter,asdeterminedby the court.
X                                                   basedon the court'sdeterminationthat the defendantposesa low risk of
          The abovedrug testingconditionis suspended,
          futuresubstanceabuse.(Check,if applicable.)
X         The def'endant             a firearm,amrnunition,dcstructivedevice,or any otherdangerousweapon. (Check,if applicable.)
                      shallnot possess

X         The defendantshallcooperatein the collectionof DNA asdirectedby the probationofficer. (Check,if applicable.)

n         The defendantshallregisterwith the statesex ofl'enderregistrationagencyin the statewherethe defendantresides,works,or is a
          student,as directedby the probationofficer. (Check,ifapplicable.)
n                     shallparticipatein an approvedprogramfor domesticviolence. (Check,if applicable,)
          The def'endant
    If this iudgmentimposesa fine or restitution,it is a conditionof supervisedreleasethat the defendantpay in accordance
                                                                                                                        with the
Scheduleof Palmentsslieetof thisjudgmcnt.
     The defendantmustcomply with the standardconditionsthathavebeenadoptedby this court as well as with any additionalconditions
on the attachedpage.

                                      STANDARD CONDITIONS OF SUPBRVISION
    l)                 shallnot leavethejudicial districtwithout the permissionof the court or probationofficer;
           the def'endant
    2)     thedefendantshallrepoftto the probatiorrofficer and shallsubrnita trutht'uland cornpletewrittenreportwithin the first five daysof
           eachrnonth:
    3)     the defendantshallanswertruthfully all inquiriesby the probationofficer and follow the instructionsofthe probationofllcer;
    4)     the defendantshallsupporthis or her dependents
                                                        and rneetotherfamily responsibilities;
    5)                  shall work regularlyat a lawful occupation,unlessexcusedby the probationofficer for schooling,training,or other
           the def'endant
           acceptablereasons;
    6)     the defendantshallnotify the probationofficer at leasttendaysprior to any changein residenceor employment;
    7)'    the defendantshallrefiain fiorn excessiveuseof alcoholandshallnot purchase,possess, use,distribute,or administerany
           controlledsubstanceor any paraphemalia                                    eicept as prescribedby a physician;
                                                   relatedto any controlledsubltances,
    8)                                                                 areillegally sold,used,distributed,or administered;
           the defendantshallnot frequentplaceswherecontrolledsubstarrces
    9)'                                  with any personsengagedin qrirninalactivity and shallnot associate
           the defendantshallnot associate                                                                with any per$onconvictedofa
           felony,unlessgrantedperrnissionto do io'by the proba*tion
                                                                   officer,
 10)
   -                   shallpennit a probationofficer to visit him or her at any time at horneor elsewhereandshallpermitconfiscationof any
           thedet'endant
           contrabandobservedin plain view ofthe probationofficer;
 l l)                 shallnotify the probationofficer within seventy-twohoursof beingaffestedor questioned
           thedef'endant                                                                                  by a law enforcement
                                                                                                                             ofllcer;
 12)                    s.hallnot enterinto any agreementto act as an informeror a specialagentof a law enforcementagencywithout the
           the def'endant
           pemrissionof the court; and
 I3)'      asdirecteclbv thenrobationofTicer.thedefendantshallnotify thirdpartiesofrisks thatrlay be occasioned by thedefendant'scritninal
           recorclor peisonalhistory or chafactelisticsarrdshall penirit the'probationofficer to make such notificltions and to confirrnthe
           defendant'scornnliancewith suchnotificationrequiremEnt.
      Case 2:10-cr-20057-PKH                        Document 231   Filed 01/17/12   Page 4 of 6 PageID #: 707
AO 2458   (Rev, 09/08) Judgmentin a Criminal Case
          Sheet3C - SuoervisedRelease
                                                                                      Judgment-Page   4   of   -f-
DEFENDANT:               MARGARITO LIRA-IBARRA
CASENUMBER:              2:10CR20057-004

                                       SPECIAL CONDITIONS OF SUPERVISION


    1. The defendantshall cooperatewith any searchby the probation office of his person,residence,
    workplace, or vehicle condirctedin a reas'onablemanner basedon reasonablesuipicion of evidence
    of violation of a condition of supervisedrelease.

    2. The defendant shall complv with anv referral bv the probation office for inpatient or outpatient
                                                                                       includin$
    evaluation,counseling,treat'dent, or teiting relateil to aicohol or substanceab^use,
    urinalysis for testing purposes;
          Case 2:10-cr-20057-PKH                                     Document 231                         Filed 01/17/12                       Page 5 of 6 PageID #: 708
Ao 2458     (Rev. 09/08) Judgmentin a Criminal Casc
            Sheet5 - Criminal Monetarv Penalties
                                                                                                                                             Judgment-        Page -5-                of             6
DEFENDANT:                                 MARGARITOLIRA.IBARRA
CASE NUMBER:                               2:l0CR?0057-004
                                                 CRIMINAL MONETARY                                                   PENALTIES

     The defendantmustpay the total criminal monetarypenaltiesunderthe scheduleof paymentson Sheet6.

                        Assessment                                                              Fine                                                   Restitution
TOTALS                $ 100.00                                                                $ 1.000.00                                           s -0"

!    Thedeterminationofrestitutionisdef'ened                                                    An AmendedJudgmentiru a Criminal Case(AOz4sC) will be
     aftersuchdetermination.

n    The defendantmustmakerestitution(includingcommunityrestitution)to the following payeesin the amountlistedbelow.

     lf thedefendantmakesa partialpayment,eachpayeeshallreceivean approximatelyproportionedpayment,unlessspecified
                                             payinentcolumnbelow. Hdwever,purslahttb l8 U.S.C.$ 3664(i),all nonfederal
     otherwisein thepriority oiderorbercentage
     victimsmustbe paid beforethe tJnitedSIatisis paid.

Name of Pavee                                               Total Loss*                                    RestitutionOrdered                                        Priority lr lereeutage




TOTALS                                          $                                        x

tr   Restitutionamountorderedpursuantto plea

tr   The defenclant          mustpay intereston restitutionand a fine of morethan$2,500,unlessthe restitutionor fine is paid in full befilrethe
     f i f l e e n t h d a y a f t e r t h e d a t e o f t h e j u c l g r n e n t , p u r s u a n t t o l s U . S . C . $ 3A
                                                                                                                            6 1l l 2o (f t )h,e p a y l n e n t o p t i o n s o n S h e e t 6 m a y b e s u b j e c t
     to penaltiesfor delinquency                  and   default,     putsuant       tQ  l8   U.S.C'     $  3612(g).

X    The courtdetenninedthat the defendantdoesnot havethe ability to pay interestand it is orderedthat:

     X      the interestrequirementis waivedfor the                             X        fine     !     restitution'

     tr     the interestrequirementfor the                       !      fine        tr       restitutionis modifiedasfollows:

+ Findinssfor thetotalarnountof lossesarerequiredunderChapters109.4,I 10,I t 0A, and I l3A of Title l8 for offensescommittedon or after
Septernb-er13, 1994,but betbreApril 23, 1996'
          Case 2:10-cr-20057-PKH                   Document 231              Filed 01/17/12        Page 6 of 6 PageID #: 709
AO 2458    (Rev,09/08)Judgmentin a Criminal Case
           Sheet6 - Schcdulcof Pavments

                                                                                                      Judgment-Page   -..1[_    of   4
DEFENDANT:                 MARGARITO LIRA-IBARRA
CASENUMBER:                2:10CR20057-004

                                                       SCHEDULE OF PAYMENTS

Havingassessed            ability to pay,payrnentof the total criminalmonetarypenaltiesaredue as follows:
             thedef'endant's

A    X     Lurnpsumpaymentof $            I,100.00           due immediately,balancedue

           n    notlaterthan                                     ,or
           X    in accordance         !     C,     !    D,   n    E, or     f, F below;or

B t r Paymentto beginimrnediately(rnaybe combinedwith                     tr C,    ! D, or     ! F below);or

c     !    Paymentin equal                (e.g.,wcekly,monthly,quarterly)installrnents
                                                                                     of $                   over a periodof
                      (e.g.,monthsor years),to cornmence            (e.g.,30 or 60 days)afterthe dateof thisjudgment;or

D    tr         in equal
           Payment                        (e.g.,weekly,monthly,quafterly)installmentsof $                  over a periodof
                      (e.g.,monthsor years),t0 commence             (e.g.,30 or 60 days)afterreleasefrom imprisonmentto a
           termof supervision;or

E    !     Paymentduringthe term of supervisedreleasewill comrnencewithin              (e.g,,30 or 60 days)afterreleasefrom
                                                                             of the defendant'sability to pay at thattirne;or
           imprisonment.The court will setthe paymentplanbaseilon an assessment

     X     Specialinstructionsregardingthe paymentof crintinalInonetarypenalties:

                                  anv unnaidjlnancialnenaltvimrrosed
           If not naidimrncdiatcly.                                   shallbc paidduringtheperiodof incalceration   at a rateof not less
                                                         quhrterlyearninss,wliichcvcris*great'er.
           thanS25.00ouaftcrlv.'ortdy" o'tttredel'endani's                                      After incarceration, any unpaidfinancial
           nenaltvshallbecom6irsoecialconditionof sunervised   releaseandriraybc paidin-monthlyinstallments  of not lesi thah l0% ofthc
                       netmonthly'household
           tlef'endant's                            britin no caselessthan$ t00.00pcr month,\';ith the entirebalanceto be paid in f'ullone
                                             income,,
           monthnriorto theterrninationof supervisedrelease.


                          orderedotherwise,if this iudgmentinrposesimprisonment,
Unlessthecourthasexrrressly                                                     pa rnentof criminalmonetarypenaltiesis dueduring
imprisonment.All criminal monetarypenaltieq,   _exceptlhose paymentsrrladethrought e FederalBureauof Priiohs' Inmate Financia-l
             Progratn,are madeto the clerk of the court.
Re'sponsibility

            shallreceivecreditfor all paymentsprevioustymadetowald any crirlirral Inonetarypenaltiesirnposed.
The defenclant




tr   Joint andSeveral

     Def'endant
             andCo-Defendant  Namesand CaseNurnbers(includingdefbndantnumber),Total Amount,Joint and SeveralAmount,
                    payee,if appropriate.
     andconespotrding




!    The defendantshallpay the costofprosecution.

tr   The defendantshallpay the tbllowirrgcourt corit(s):

n    The defendantshallforf'eitthe defendant'sinterestin the following propenyto the United States:




Pavmentsshallbe annliedin the following order:(l) assessment,      (2) restitutionprincipal,(3) restitutioninterest,(4) flne principal,
(5I fine inrerest,(6)tbmmunity restitutiori,(7) penalties,and (8) costs,includinf costof prosecutionand court costs.
